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               EXHIBIT 7
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           ACKER WOOD                                          Gwen R. Acker Wood, PhD, Esq., President
                                                               Anthony H. Handalo Esq., Of Counsel
INTELLECTUAL PROPERTY LAW, LLC

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                                                                        Exhibit 7
    C
     March 16,2022

     VIA EMAIL ATTACHMENT

     Anthony Doherty
     SMITHDEHN LLP
     100 Park Avenue, 16th Floor
     New York. NY 10017

            Re: "Tiqer Kinq Season 2:" Unauthorized Use of Copvriqhted Artwork "Quarantine 2020"

     Dear Mr. Doherty:

             We are in receipt of your response letter, dated February 23,2022 (the "Letter"), to our
     cease and desist letter, dated February 9, 2022, regarding the above-identified matter. We
     strongly disagree with your contention that the Fair Use Doctrine bars our claim that Royal Goode
     Productions, LLC ('RGP'), the producers of the "Tiger King" documentary series ("Tiger King
     Series") infringed the copyrighted Joe Exotic "Quarantine 2020" tattoo artwork ("Joe Exotic Tattoo"
     or the "Artwork") created by our client, Molly Cramer ("our client") by using the Joe Exotic Tattoo
     in the Tiger King Series.

              Your main argument with respect to the Fair Use Doctrine is that RGP's use of the Joe
     Exotic Tattoo is transformative, and thus does not infringe any rights of our client. You then
     encourage us to take into consideration the "Documentary Filmmaker's Statement of Best
     Practices in Fair Use," which states, in pertinent part, "[d]id the unlicensed use 'transform'the
     material taken from the copyrighted work by using it for a different purpose than the original, or
     did it just repeat the work for the same intent and value as the original?"'

             Your assefiion that the Joe Exotic Tattoo is transformative and thus does not infringe any
     rights of our client could not be further from the truth. In fact, our client created the Joe Exotic
     Tattoo for the exact same purpose that it was used by RGP in the Tiger King Series, namely,
     to exploit Joe Exotic's popularity, global recognition, and the fact that he has become a social
     phenomenon.

              Some background of the genesis of the Joe Exotic Tattoo is in order to substantiate our
     contention that RGP's use of the Artwork was for the very same purpose, intent and value as that
     of our client. ln 2020, in an attempt to raise money due to the closing of both our client's and her
     husband's businesses due to the Covid-19 pandemic, our client's husband came up with the idea
     of selling gift certificates online, whereby purchasers of the gift certificates would vote on which
     one of several funny tattoo pictures created by our client would be tattooed on our client's
     husband's thigh by our client. Both our client and her husband were viewers of the Tiger King
     Series and were familiar with Joe Exotic and his fame, popularity and global recognition, and thus



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one of the tattoo pictures created by our client was a likeness of Joe Exotic because of his
popularity, fame and global recognition. Our client believed that including Joe Exotic as one
of the funny tattoo pictures would garner a very large response to the sale of the gift certificates
because of his fame and popularity.

       In fact, our client raised over $3000.00 in gift certificates and the tattoo picture that won
the vote by a large margin was the image of Joe Exotic with a Lysol can, a toilet paper banner,
covid spores, and entitled "Quarantine 2020." Our client tattooed the Joe Exotic Tattoo on her
husband in April, 2020 and posted the Joe Exotic Tattoo the same day on her Facebook page.

        Further, as you rightly state, the first factor, and the one many courts consider the most
important, which is considered in determining fair use of copyrighted material is "the purpose and
character" of the use, including whether such use is of a commercial nature. There is no doubt
that the purpose and character of the Joe Exotic Tattoo was to create a likeness of a popular,
globally recognized celebrity, and that the use by RGP of the Joe Exotic Tattoo merely
supersedes the original work and does not add something new with a further purpose or a
different character. Brownmark Films, LLC v. Comedy Partners,682 F.3d 687, 693 (7th Cir
2012), citing Campbell v. Acuff-Rose Music, \nc.,510 U.S. 569, 585 (1994) at 579. Indeed, in
your Letter you admit that "[i]n the Tiger King Series the [sic] The Tattoo is used [ ] as a tangible
demonstration of the scale of Joe Exotic's fame." lt is therefore clear that the Joe Exotic Tattoo
is not being used by RGP for a transformative purpose, but rather is being used for the exact
same purpose it was created for by our client.

         The second fair use factor, which elements you allege do not "assist our claim" because
you have concluded, erroneously, that "the Tattoo passes the transformation test," looks to the
nature of the copyrighted work. In this regard, courts tend to give greater protection to creative
works, as courts usually are more protective of art, music, poetry, feature films, and other creative
works than they are of nonfiction works, and thus fair use applies more broadly to nonfiction than
fiction. Although the Joe Exotic Tattoo was published, we have no doubt that the elements of the
second fair use factor would "assist our claim." Also, the fact that you question whether the Joe
Exotic Tattoo is a creative work by stating in your Letter "materialthat might arguably be creative
in nature" (emphasis added) is disingenuous at best.

        The third fair use factor involves assessment of the "amount and substantiality" of the
portion of the copyrighted material which is used. According to the courts, it is axiomatic that the
more an alleged infringer uses the copyrighted material, the less likely the alleged infringer is
within fair use with respect to the third fair use factor. Additionally, courts have ruled that even
small amounts of use may be excessive if they take the "heart of the work."

         In your Letter, you state that "[t]he Tattoo is used in the Tiger King Series for a very short
period of time, less than three seconds," and that "[t]he Tattoo is 'not displayed with sufficient
detail for the average lay observer to identify even the subject matter of the [Tattoo], much less
the style used in creating them."' To this end, you cite So/rd Oak Sketches, LLC v. 2K Games,
|nc.,449 F. Supp.3d 333,348 (S.D.N.Y.2020), where use of tattoos depicted on professional
basketball players in a video game were held to be fair use by the defendant. This case, however,
is inapposite to RGB's use of the Joe Exotic Tattoo in the Tiger King Series. In So/rd Oak
Sketches, the tattoos were "small and indistinct" and appeared "as rapidly moving visualfeatures
of rapidly moving figures in groups of player figures." /d. In the Tiger King Series, the image of
the Joe Exotic Tattoo, although shown for a short time, is distinct and shown clearly and in its
entirety, i.e., not just the "heart of the work" is used, and the image is stationary and not moving
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for the time it is shown. Further, your assertion that an average lay observer would not be able
to identify even the subject matter of the tattoo because it is not displayed in sufficient detail is
completely incorrect, as evidenced by the fact that our client first found out that her Joe Exotic
Tattoo was being used in the Tiger King Series from many friends and family who contacted her
after seeing the Joe Exotic Tattoo on the Tiger King Serles.

         The fourth fair use factor involves the effect of the use on the potential market for or value
of thework. In your Letter, you allege that "[t]he use of the Tattoo in an episode of the Tiger King
Series is similarly too short and too small to damage the market for your client's work." You go
on to allege that, "[o]n the contrary, the portrayal of the Tattoo in the Tiger King Series is likely to
increase the market demand for Ms. Cramer's Tattoo, as a new audience is introduced to it." In
fact, the exact opposite has been the case. Because our client did not receive attribution for the
use of the Joe Exotic Tattoo by RGP, the public erroneously is being led to believe that RGP
created or owns the Artwork, and thus this unauthorized use has had and is having an adverse
market effect for our client's Artwork.

          Further, the fourth fair use factor includes determining whether an alleged infringer could
have realistically purchased or licensed the copyrighted work and if so, that fact weighs against a
finding of fair use. We contend that RGP and Netflix could have purchased or licensed the Joe
Exotic Tattoo from our client, but instead used it without our client's authorization and without
considering her rights. In addition, if an alleged infringer's purpose for using the copyrighted work
is commercial, as your use undoubtedly is, an adverse market effect is easier to prove. In your
Letter, you state that "the transformative nature of the secondary work also comes into play [.. . ]
in that "if the secondary use is significantly transformative, it will not impinge on a market available
to the copyright holder and is therefore more likely to be a fair use." Because we contend that
RGP's use of the Joe Exotic Tattoo was not a transformative secondary use of the Artwork at all,
but rather a use that merely supersedes the original work and does not add something new with
a further purpose or a different character, this strengthens our contention that RGP's alleged
infringement of our client's Artwork cannot be defended under the fair use doctrine and has had
and is having an adverse market effect for the Artwork.

         Based on the foregoing, we reiterate our demands that Netflix: (1) immediately cease and
desist all use of the Joe Exotic Tattoo in the Tiger King Series and in the Tiger King Trailer; (2)
provide the source from which Netflix obtained the Joe Exotic Tattoo, including, without limitation,
any documents purporting to assign, license, or transfer any rights in or to the Joe Exotic Tattoo;
and (3) remit a settlement payment in the amount of ten million dollars ($10,000,000.00) via
cashier's check, made payable to the undersigned, within fifteen (15) days from the receipt of
this letter to the undersigned's address shown below.

        Please be advised that failure to meet these demands in the stated time shall result in our
filing a complaint for Copyright Infringement in federal court against RGP and Netflix for the
unauthorized use of our client's Joe Exotic Tattoo Artwork in the Tiger King Series.
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       This is not a full recitation of all outstanding facts and legal issues, and nothing in this letter
is meant to or should be construed to waive or limit any rights, claims, or remedies.

        Sincerely,




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